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 1   of hotels in the Tucker precinct that have a high           1   prostitution on the property. Do you understand what
 2   crime rate.                                                 2   I read?
 3            And that is the list that we've talked             3       A No, can you just...
 4   about --                                                    4       Q You want me to read it again?
 5        A Right.                                               5       A No, just rephrase it. I -- I'm --
 6        Q -- that you're looking at there,                     6       Q Yes, sir. This question that was a
 7   Plaintiff's Exhibit 7.                                      7   question I asked of United Inn and Suites was, admit
 8            Answer: Yes. Question: And which hotel is          8   that law enforcement from DeKalb County Police
 9   at the top of the list? Answer: The United Inn.             9   Department notified United Inn and Suites of
10   Question: Do you understand that to mean the United        10   prostitution at the hotel. And the hotel responded
11   Inn had the highest crime rate in Tucker precinct of       11   to this and made some objections, and then said
12   all the hotels in Tucker? Answer: Yes, I can believe       12   admitted. In other words, the hotel admitted that
13   that. Question: Did the crime that occurred at the         13   the DeKalb County Police Department did notify the
14   United Inn and Suites include commercial sex activity      14   hotel of prostitution on the property. Is that -- is
15   like prostitution and sex trafficking? Answer: Yes.        15   that something you're aware of, or no?
16   Question: Did you consider commercial sex activity,        16       A Maybe when the thing occurred, then we
17   like prostitution and sex trafficking, to be common        17   were aware of that, what's going on, yeah.
18   at the United Inn and Suites? Answer: Yes.                 18       Q Did you participate in any conversations
19   Question: Did you consider commercial sex activity,        19   with the DeKalb County Police Department officers
20   like prostitution and sex trafficking, to be a             20   about prostitution on the property?
21   problem at the United Inn and Suites from 2015 to          21       A Whenever we see like a unusual activity,
22   2021? Answer: Yes.                                         22   we just tell them so they can go and check what's
23            Did you hear what I just read?                    23   going on. That's the conversation we do. Yeah.
24        A Yes.                                                24       Q Well, I hear your answer, but I want to
25        Q Does that testimony surprise you?                   25   focus a little more specifically on commercial sex
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 1       A Maybe they have more experience than we,              1   activity or prostitution or sex trafficking. Did you
 2   because we're not trained, just the police officer.         2   ever specifically talk about those topics with DeKalb
 3   So, maybe they have a better eye.                           3   County police?
 4       Q Did you consider commercial sex activity,             4       A If there is any kind of like prostitution
 5   that is sex for money, whether it's prostitution or         5   going on? Because we don't even know what's going on
 6   sex trafficking -- did you consider sex activity to         6   so we just tell them, so maybe you can go and check
 7   be common at the United Inn and Suites from 2017 to         7   with your experience, so...
 8   2019?                                                       8       Q Did you ever have a conversation with the
 9       A No.                                                   9   DeKalb County Police Department where they were using
10       Q Take a look at Plaintiff's Exhibit 4,                10   the term "prostitution"?
11   which we just looked at a second ago. And I want to        11       A What? I'm sorry.
12   look at the response number 45, which is on page 15.       12       Q Where the DeKalb County Police Department
13   Mr. Shareef -- Mr. Islam, I'm going to read this to        13   officers were using the term "prostitution" and
14   you, Request 45. Admit that law enforcement                14   talking about prostitution on the property, did you
15   officials from the DeKalb County Police Department         15   ever participate in conversations where that
16   notified you of prostitution on the property.              16   occurred?
17   Response: Defendant objects to this request as it's        17       A Any kind like a meeting for -- regarding
18   not limited at scope of time. Subject to this              18   that?
19   objection and without waiving the same, admitted.          19       Q Meeting, phone call, in-person discussion.
20            And what I can represent to you about that        20       A The discussion, yes, with the -- with
21   answer, Mr. Islam, is that there were objections           21   those officers, yes.
22   made, but the answer provided at the end of the            22       Q And the term "prostitution" was used?
23   objection says, admitted. In other words, admitting        23       A Yes.
24   that law enforcement officials from the DeKalb County      24       Q What would they say about it?
25   Police Department notified United Inn and Suites of        25       A Whenever - because we don't know about

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 1   that exact thing, about the prostitution and other         1   walking to Room 101 of the hotel. She didn't have a
 2   statements. And maybe like somebody's doing some --        2   key to the room and left the officers waiting in the
 3   some kind of activity, so can you check.                   3   room while she went back to the front desk to get a
 4       Q And what would prompt you to call?                   4   key for having -- before having commercial sex. And
 5       A Somebody wearing like inappropriate                  5   when she went back to the room, the undercover
 6   clothes.                                                   6   officers arrested her.
 7       Q Anything else?                                       7            Is this a report that you're familiar
 8       A Not really, no.                                      8   with?
 9       Q I mean, I'm just trying to figure out what           9        A No.
10   kinds of things would you have been seeing that would     10        Q Do you agree that there was prostitution
11   prompt you to call and say, hey, I think there might      11   at the United Inn and Suites as of August 2015?
12   be something going on here?                               12        A If it said that report, then we already
13       A Sometimes if people in and out from any             13   find out what's going on.
14   room.                                                     14        Q Well, my question was --
15       Q Do you recall having more than one                  15        A Yes.
16   conversation with the DeKalb Police Department about      16        Q -- do you believe that there was
17   prostitution?                                             17   prostitution at the United Inn and Suites in
18       A Whenever we have problem, yes.                      18   August -- -
19       Q Did you ever have any communications with           19        A Of that report --
20   the DeKalb Police Department in writing?                  20        Q -- 2015?
21       A No.                                                 21        A -- yes.
22       Q Or oral?                                            22            (Exhibit No. 9 was marked for
23       A Yeah, basically convey to the officers, so          23        identification.)
24   they can convey their way.                                24        Q (By Mr Bouchard) Showing you what's been
25       Q During the time that you've been at the             25   marked as Plaintiff's Exhibit 9. And this is June
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 1   United Inn and Suites, Mr. Islam, how many instances       1   2nd, 2017, police report, Bates-stamped Plaintiff
 2   do you believe there's been prostitution at the            2   1379 to Plaintiff 1383.
 3   hotel?                                                     3            Mr. Islam, this report, if you look at the
 4       A I heard few of them, so -- and being                 4   last page, refers to a man that was arrested after
 5   arrested when we find out what's going on.                 5   beating a woman in Room 345 at the United Inn over
 6       Q Give me an estimate of how many instances.           6   monies owed for sexual favors. Is this a report that
 7       A My knowledge, maybe five, six.                       7   you're familiar with?
 8       Q In the time -- in the entire time you've             8       A No.
 9   worked --                                                  9       Q Do you agree there was prostitution on the
10       A Yeah.                                               10   property in June 2017?
11       Q -- at the hotel?                                    11       A I don't know. If this is their opinion,
12       A Yeah.                                               12   so I -- I cannot say anything, so...
13       Q All right. Let's look at Plaintiff's                13            (Exhibit No. 10 was marked for
14   Exhibit 8 from Mr. Shareef's deposition.                  14       identification.)
15           (Exhibit No. 8 was marked for                     15       Q (By Mr. Bouchard) Take a look at
16       identification.)                                      16   Plaintiff's Exhibit 10, which is Bates-stamped
17       Q (By Mr. Bouchard) Showing you what's been           17   Plaintiff 1398 to 13 -- to 1401. Police report dated
18   marked as Plaintiff's Exhibit 8, which is a police        18   June 20th, 2017. And this is a report, sir, that
19   report dated August 12th, 2015, Mr. Islam. And you        19   documents police responding to a fight between a
20   can see in the top left-hand corner it says, Incident     20   prostitute and her pimp in Room 101 of the United
21   type: Prostitution. And I'll represent to you that        21   Inn. The pimp left the prostitute's room after the
22   the long narrative on the next page, I'll represent       22   fight to go stay in another woman's room at the
23   to you that it says that a woman was arrested for         23   hotel.
24   prostitution at the United Inn after meeting two          24            Are you familiar with this report?
25   undercover police officers in the parking lot and         25       A No.

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